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                 THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

       Plaintiff,

           v.
                                       CRIMINAL NO. 21-cr-324 (RAM)

 ELIAN JOEL ORTEGA-ORTIZ (4),

       Defendant.



                           OPINION & ORDER

RAÚL M. ARIAS-MARXUACH, United States District Judge.

     This matter comes before the Court on Defendant Elian Ortega-

Ortiz’s Request for De Novo Bail Hearing Pursuant to Title 18

U.S.C. §§ 3145(b). (Docket No. 53). For the below-stated reasons,

the Court GRANTS Defendant’s request for pretrial release subject

to the conditions specified herein and in the separate order of

release.

                            I.    BACKGROUND

     On September 9, 2021 a Grand Jury returned an indictment

against four (4) defendants, including Mr. Elian Ortega-Ortiz

(“Mr. Ortega-Ortiz” or “Defendant”). (Docket No. 17). Mr. Ortega-

Ortiz is charged with one (1) count of Conspiracy to Possess with

Intent to Distribute a Controlled Substance in violation of 21

U.S.C. §§ 841(a)(1) & (b)(1)(A)(ii) and 846. Id. at 1-2.
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      On September 13, 2021, Magistrate Marshal D. Morgan held a

detention hearing as to Mr. Ortega-Ortiz. (Docket No. 30). After

hearing the parties, Judge Morgan determined that the Government

proved “[b]y clear and convincing evidence that no condition or

combination of conditions of release will reasonably assure the

safety of any person or the community[,]” and thus ordered that

Mr. Ortega-Ortiz be detained pending further proceedings. (Docket

No.   30    and   32).     Judge   Morgan   found   that    although    Defendant

presented sufficient evidence to rebut the applicable presumption,

detention was warranted due to other factors. Id. at 2.                         Said

factors included: (a) that the weight of evidence against Defendant

is strong; (b) he is subject to a lengthy period of incarceration

if convicted; and (c) Defendant’s relationship with his father,

who gave him orders and tasks within the conspiracy. (Docket No.

34 at 2).

      On    October   7,    2021,    Mr.    Ortega-Ortiz     filed     his   motion

requesting a de novo bail hearing and revocation of the detention

order. (Docket No. 53). Defendant maintains therein that he does

not pose a risk to the community. Id. at 4. Furthermore, Defendant,

who is nineteen (19) years old, contends that a combination of

conditions exist which may reasonably assure that he will appear

when ordered given that: (a) he has no prior criminal record; (b)

he    has    no   history    of    substance    abuse;     (c)   his   father    is
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incarcerated in Florida; and (d) his mother is eager and able to

act as third-party custodian. Id. at 7-9.

     The Court held a de novo bail hearing on October 25, 2021.

(Docket No. 71). At the hearing, the Government proceeded by

proffer and Defendant responded with various arguments as to why

the detention order should be revoked. Id. The Court took the

matter under advisement and notified that it would consider the

Pretrial Services Report. Id. Given Defendant’s strong ties to

Puerto Rico, lack of a criminal record, lack of substance abuse,

lack of a history of violence, and family support from his mother,

the Court finds that the Government has not proven by clear and

convincing evidence that there are no conditions or combination of

conditions of release which can reasonably assure the safety of

any person and the community. The Court also finds that there are

conditions which can reasonably assure Defendant’s appearance at

trial.

                            II.   LEGAL STANDARD

     A. Standard of review for a detention or release order:

     A   district   court   reviews   a   Magistrate   Judge’s   order   of

detention or release under a de novo standard and “need not defer

to the magistrate judge’s findings or give specific reasons for

rejecting them.” United States v. Cidraz-Santiago, 18 F. Supp. 3d

124, 126 (D.P.R. 2014). A district court may also “take additional
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evidence or conduct a new evidentiary hearing when the defendant

has placed relevant facts at issue.” Id.

     B. The Bail Reform Act:

     Pursuant to the Bail Reform Act of 1984 (the “Act”), a

judicial officer must determine whether a person charged with an

offense shall be detained or released. See 18 U.S.C. § 3141(a).

Section 3142(e) of the Act provides that if after conducting a

hearing,      “the   judicial   officer       finds   that   no   condition   or

combination of conditions will reasonably assure the appearance of

the person as required and the safety of any other person and the

community, such judicial officer shall order the detention of the

person prior to trial.” 18 U.S.C. § 3142(e).

     Section 3142(f) of the Act establishes the instances in which

an accused individual is eligible for detention and therefore, a

detention hearing is proper. See 18 U.S.C. § 3142(f). Specifically,

Section 3142(f)(1) of the Act requires that the judicial officer

hold a detention hearing upon motion of the attorney for the

Government in cases which involve “an offense for which a maximum

term of imprisonment of ten years or more is prescribed in the

Controlled Substances Act (21 U.S.C. 801 et seq.), the Controlled

Substances Import and Export Act (21 U.S.C. 951 et seq.), or

chapter 705 of title 46” and other prescribed offenses including

crimes   of    violence.   18   U.S.C.    §    3142(f)(1)(A)-(E).     Likewise,

Section 3142(f)(2) authorizes the court to hold a detention hearing
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upon government motion or sua sponte in cases that involve “(A) a

serious risk that such person will flee; or (B) a serious risk

that such person will obstruct or attempt to obstruct justice, or

threaten, injure, or intimidate, or attempt to threaten, injure,

or   intimidate,   a    prospective   witness    or    juror.”    18    U.S.C.   §

3142(f)(2) (emphasis added).

      The standard of proof for detention due to dangerousness is

clear and convincing evidence. Id. Clear and convincing evidence

is “more than preponderance of the evidence and less than beyond

reasonable doubt.” United States v. Acevedo Ramos, 600 F.Supp.

501, 509 (D.P.R. 1984). This standard requires “a high degree of

certainty that the information presented supports the conclusion

of dangerousness or risk to the obstruction of justice.” Id. The

standard   of   proof    for   detention   due    to    risk     of    flight    is

preponderance of the evidence. See United States v. Patriarca, 948

F.2d 789, 793 (1st Cir. 1991).

      Another Judge sitting in this District has held that:

           Where probable cause is found to believe that
           a defendant has committed a crime listed or in
           the circumstances set forth in 18 U.S.C. §
           3142(e), a rebuttable presumption arises that
           no conditions or combination of conditions
           exist   that   will  reasonably   assure   the
           appearance of the defendant and the safety of
           the community.

United States v. Vargas-Reyes, 220 F.Supp. 3d 221, 225 (D.P.R.

2016) (citing 18 U.S.C. § 3142(e)(3)). A grand jury indictment
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alone suffices to trigger the presumption. Id. (citing United

States v. Vargas, 804 F.2d 157, 163 (1st Cir. 1986)).

     The 18 U.S.C. § 3142(e)(3) presumption imposes the burden of

production upon the defendant. See Vargas-Reyes, 220 F.Supp. 2d at

225. This burden of production can be satisfied by introducing at

least some evidence contrary to the facts presumed but, even so,

the presumption does not disappear and retains evidentiary weight.

Id. Notably,    the    burden       of   persuasion    always          rests   with     the

Government, both in presumption and non-presumption cases. Id.

     When determining whether there are conditions of release to

assure a defendant’s appearance and the safety of the community

during a detention hearing, judicial officers must take into

consideration    the       following       factors:        (1)        the   nature      and

circumstances   of    the    offense       charged;   (2)        the    weight    of    the

evidence    against    the    defendant;       (3)   the    defendant’s          personal

history and characteristics; and (4) the nature and seriousness of

the danger to any person or the community that would be posed by

the defendant’s release. See 18 U.S.C. § 3142(g). Furthermore, the

Court may consider uncharged conduct in assessing the degree of

danger posed by the defendant’s release. See United States v.

Rodriguez, 950 F.2d 85, 88-89 (2d Cir.1991).

     Under the Act, a decision to detain must be supported by

written    findings   of     fact    and   a   statement         of    reasons    and    is

immediately reviewable. See 18 U.S.C. § 3142(i). Although not
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required by the Act, the First Circuit has indicated that “a

similar statement of reasons should ordinarily accompany release

orders in contested cases.” United States v. Tortora, 922 F.2d

880, 883 (1st Cir. 1990).

                                 III. DISCUSSION

       While several Section 3142(g) factors weigh in favor of

detention, namely the nature and circumstances of the offense

charged and the weight of the evidence, the Court finds that the

Government did not meet its evidentiary burden of proving by clear

and convincing evidence that there “is no condition or set of

conditions” that will reasonably assure the safety of any person

and the community. The existing Section 3142(e)(3) presumption is

rebutted by Defendant’s strong ties to Puerto Rico, family support

from his mother, and lack of a criminal record, substance abuse,

or    history   of   violence.   Likewise,       the   Court   finds    that    the

Government did not establish by a preponderance of the evidence

that    there   is   no   condition   or   set    of   conditions      that    will

reasonably ensure Defendant’s appearance at trial. The analysis of

Section 3142(g) factors is as follows.

     A. The nature and circumstances of the offense charged:

       As noted above, Ortega-Ortiz is charged with violating 21

U.S.C. §§ 841(a)(1) & (b)(1)(A)(ii) and 846, Conspiracy to Possess

with Intent to Distribute a Controlled Substance. (Docket No. 17

at 1-2). Accordingly, if convicted, Defendant may be subjected to
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a penalty of imprisonment of no less than 10 years and not more

than life. See 21 U.S.C. § 841(b). The offenses charged in the

indictment    is   serious.       Given   the   severity   of   the      punishment

provided by the relevant statutes, this factor favors detention.

  B. The weight of the evidence against the defendant:

     According to the Government’s proffer at the de novo bail

hearing, surveillance efforts revealed that Ortega-Ortiz received

detailed     instructions         from    co-defendant     Luis        Ocasio-Ramos

regarding how to package controlled substances so that they could

go undetected by the United States Postal Service (“USPS”). Many

post office supplies and materials were found in Defendant’s home.

Furthermore,      upon   inspection       of   his   vehicle,   canines     alerted

agents as to the presence of drugs. Therefore, the weight of the

evidence appears to be strong.

     “[N]umerous courts have recognized that the seriousness of

the charge and the weight of the evidence can create a strong

incentive for a defendant's flight.” United States v. Rodriguez-

Adorno, 606 F. Supp. 2d 232, 236 (D.P.R. 2009). As noted earlier,

Defendant    is    facing     a    significant       sentence     if    convicted,

consisting of a mandatory minimum of 10 years of imprisonment.

     However, the Court is not concerned with Defendant’s guilt or

innocence at this stage. See 18 U.S.C. 3142(j) (“Nothing in this

section shall be construed as modifying or limiting the presumption

of innocence”). Instead, the Court must assess whether there is a
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set of conditions that “will reasonably assure the appearance of

the person as required and the safety of any other person and the

community.” 18 U.S.C. ¶ 3142(c). The remaining Section 3142(g)

factors lead to the conclusion that such conditions exist.

  C. The Defendant’s personal history and characteristics:

     Defendant’s personal history and characteristics weigh in

favor of release. For the exception of one year after Hurricane

Maria, when Defendant lived with his aunt in Georgia, Mr. Ortega-

Ortiz has been a lifelong resident of Puerto Rico. (Docket No. 21

at 1-2). Although he has been living independently, his mother,

Mrs. Silvia Ortiz, has expressed her willingness to serve as a

third-party custodian if the Court grants conditions of release.

Id. at 2. She is able to house Defendant at her residence. Id. at

3. Defendant thus has strong family ties and strong ties to Puerto

Rico. Defendant does not appear to have meaningful foreign ties

and fleeing would sever his life-long ties to Puerto Rico.

     Defendant has been unemployed since September 2021 but is

interested in pursuing a job related to his studies to become a

Refrigeration   technician.   Id.   at   2.   There   is   no   record   that

Defendant owns any real estate or motor vehicles, relying on family

support to cover his expenses. Id. Previously, Defendant worked at

an auto detailing shop and a supermarket. Id.

     There is no evidence that Defendant has a history of substance

abuse. Id. at 3. Similarly, Ortega-Ortiz does not have a prior
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criminal record. Id. While Defendant reported that he suffers from

anxiety, he has not been diagnosed by a physician. Id. Accordingly,

the Court finds that Defendant does not have a history of violence.

This coupled with Ortega-Ortiz’s lack of a prior criminal history,

weighs against detention.

  D. The nature and seriousness of the danger to any person or the
     community that would be posed by the defendant’s release:

     In the case at bar, it is undisputed that the 18 U.S.C. §

3142(e)(3)   presumption     concerning    the    burden     of    production

applies. However, Mr. Ortega-Ortiz’s strong ties to Puerto Rico,

family support from his mother, and lack of a criminal record,

substance abuse, or history of violence rebut the presumption. Cf.

Gall, 2013 WL 12192313, at * 1 (ordering detention where defendant

had history multiple prior convictions including substance abuse,

disorderly   conduct,   breach    of   peace,    domestic    violence,   and

contempt).

     Ultimately, the Government had the evidentiary burden of

proving that “no condition or combination of conditions will

reasonably assure […] the safety of any other person and the

community” under the clear and convincing evidence standard. 18

U.S.C. § 3142(e). “Undoubtedly, the safety of the community can be

reasonably assured without being absolutely guaranteed.” Tortora,

922 F.2d at 884 (emphasis added). Thus, the Government needed to

present   “‘clear     and   convincing’     evidence        of    defendant’s
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dangerousness”    to    justify     his    detention     without        bail.   United

States v. Goveo-Santiago, 901 F. Supp. 56, 58 (D.P.R. 1995). The

weight of the evidence and Defendant’s troubled relationship with

his   father,    who   is     currently         incarcerated       in   Florida,   is

insufficient to establish Ortega-Ortiz’s dangerousness.

                                  IV.     CONCLUSION

      Based on the grounds stated in this Opinion, Defendant Elian

Ortega-Ortiz     shall      be    released        subject     to    the    following

conditions:

      1. Defendant must not violate federal, state, or local law

        while on release.

      2. Defendant must cooperate in the collection of a DNA sample

        if it is authorized by 42 U.S.C. § 14135a.

      3. Defendant must advise the court or the pretrial services

        office or supervising officer in writing before making any

        change of residence or telephone number.

      4. Defendant     must      appear    in    court   as    required     and,   if

        convicted, must surrender as directed to serve a sentence

        that the court may impose.

      5. Defendant shall execute an unsecured bond binding himself

        to pay the United States the sum of $10,000 dollars to be

        cosigned by his mother, Mrs. Silvia Ortiz, in the event of

        a failure to appear as required or to surrender as directed

        for service of any sentence imposed.
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     6. Qualification by the United States Probation Office of his

        mother, Mrs. Silvia Ortiz, as a third-party custodian.

     7. Defendant is placed in the custody of Mrs. Silvia Ortiz

        (pending qualification by the US Probation Office), whose

        address is #924 Paganini St., Urb. Reparto Sevilla, San

        Juan, PR 00924, and who agrees to: (a) supervise the

        defendant, (b) use every effort to assure the defendant’s

        appearance at all court proceedings, and (c) notify the

        court immediately if the defendant violates a condition of

        release or is no longer in the custodian’s custody.

     8. Electronic monitoring.

     9. Defendant’s release is conditioned upon qualification of

        the third-party custodian and of her residence as well as

        verification by the United States Probation Office of

        electronic monitoring device capability.

     10. Home    detention:    Defendant   shall   be   restricted   to   his

        residence at all times except for: employment, education,

        religious services, medical, substance abuse, or mental

        health    treatment,    attorney   visits,      court   appearances,

        court-ordered obligations, or other activities approved in

        advance by the pretrial services office or supervising

        officer.
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     11. Defendant shall avoid all contact, directly or indirectly,

        with any person who is or may be a victim or witness in

        the investigation or prosecution.

     12. Defendant shall avoid all contact, directly or indirectly,

        with his father, Mr. Israel Ortega, unless in the presence

        of counsel.

    13. Defendant shall submit to supervision by and report on a

        regular basis to the United States Probation Office.

    14. Defendant shall continue or actively seek employment.

    15. Defendant shall maintain or start an education program.

    16. Defendant will not use or unlawfully possess any narcotic

        drug or other controlled substances defined in 21 U.S.C. §

        802 unless, prescribed by a licensed medical practitioner.

    17. Defendant shall refrain from the excessive use of alcohol.

    18. Defendant should receive medical or psychiatric treatment

        as recommended by the US Probation Officer.

    19. Defendant should participate in a program of inpatient or

        outpatient substance abuse therapy and counseling as deemed

        necessary by the U.S. Probation Office or the Supervising

        Officer.

    20. Defendant shall not possess a firearm, destructive device,

        or other dangerous weapon.

    21. Defendant shall surrender any passport to the United States

        Probation Office.
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    22. Defendant    shall      not     obtain     a     passport   or    other

        international travel document.

    23. Defendant shall report as soon as possible, to the U.S.

        Probation Office or the Supervising Officer any contact

        with any law enforcement personnel, including, but not

        limited to, any arrest, questioning, or traffic stop.

    24. Defendant shall abide by the following restrictions on

        personal association, place of abode, and travel: Defendant

        shall reside at the address of record and shall not leave

        the jurisdiction of this District without first obtaining

        written permission from the Court.

    25. As an exception, the Chief U.S. Probation Officer or his

        designee, may authorize temporary changes of address and

        overseas travels to the mainland U.S. only, not exceeding

        15   calendar   days,    provided    the       U.S.   Attorney   has   no

        objection to it. If objected, request will have to be made

        in writing to the Court.

    26. Defendant shall not enter any airport or pier under this

        exception unless authorized by a PT Officer.

     IT IS SO ORDERED.

     In San Juan, Puerto Rico, this 10th day of November 2021.

                                      S/ RAÚL M. ARIAS-MARXUACH
                                      United States District Judge
